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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK

 MICHAEL WEATHERSBEE, Derivatively
 on behalf of LONGFIN CORP.,

                        Plaintiff,                 Case No. 1:18-cv-10182

                vs.

 VENKAT S. MEENAVALLI, VIVEK
 KUMAR RATAKONDA, YOGESH PATEL,
 LINGA MURTHY GADDI, ANDY
 ALTAHAWI f/k/a AMRO IZZELDEN
 ALTAHAWI, GHANSHYAM DASS,
 DAVID NICHOLS, and JOHN PARKER,

                        Defendants,

                and

 LONGFIN CORP.,

                        Nominal Defendant.


    NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO F.R.C.P. 41(a)(1)(A)(i)

       NOTICE IS HEREBY GIVEN that, pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules

of Civil Procedure, Plaintiff Michael Weathersbee (“Plaintiff”), by and through his undersigned

counsel, voluntarily dismisses the above-captioned action, without prejudice, as to all defendants.

This notice is appropriate under Rule 41(a)(1)(A)(i) as no defendant has filed an answer or a

motion to dismiss Plaintiff’s action.
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Dated: January 25, 2019               Respectfully submitted,

                                      BRAGAR EAGEL & SQUIRE, P.C.

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                                      Counsel for Plaintiff

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                                      Additional Counsel for Plaintiff




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                              CERTIFICATE OF SERVICE

       I hereby certify that on this 25th day of January, 2019, a true and correct copy of the

foregoing NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE was served by

CM/ECF to all parties registered to the Court’s CM/ECF system.

                                                         David J. Stone
                                                         David J. Stone




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